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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 1:17-CV-1292

DAWN OSBORNE

               Plaintiffs,

v.

ALLSTATE FIRE AND CASUALTY INSURANCE COMPANY

               Defendants.


                   STIPULATION FOR DISMISSAL WITH PREJUDICE


       Plaintiff, Dawn Osborne, and Defendant, Allstate Fire and Casualty Insurance Company,
through their respective counsel, hereby submit this Stipulation for Dismissal with Prejudice and
request that this Court enter an Order dismissing all claims asserted by Plaintiff against
Defendant with prejudice and, as grounds therefor, state as follows:

       1.     Plaintiff and Defendant have reached a settlement and compromise of any and all
claims which have been or could have been asserted between them in this action.

       2.      Each party is to pay their own costs, expenses, and attorney fees.

        WHEREFORE, Plaintiff Dawn Osborne and Defendant Allstate Fire and Casualty
Insurance Company respectfully request that this Court enter an Order dismissing all claims
asserted by Plaintiff against Defendant with prejudice.

Respectfully submitted,                              Respectfully submitted,

LEVINE LAW, LLC                                      THE ROSS-SHANON LAW FIRM, P.C.

By /s/ Sarah G. Freedman, Esq.                       By /s/ Bradley Ross-Shannon, Esq.
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